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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                                   )
                                                            )
Plaintiff,                                                  )     Criminal No. 3:19-cr-34
                                                            )
vs.                                                         )     APPEARANCE
                                                            )
CODY SCOTT SHEESE,                                          )
                                                            )
Defendant.                                                  )


TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

        The undersigned hereby enters his appearance as counsel in this case for the

defendant Cody Scott Sheese.

DATED: March 28, 2025                                             FEDERAL DEFENDER'S OFFICE
                                                                  CBI Bank & Trust Building
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                                                                  By: /s/ Abdel Reyes
                                                                          Abdel Reyes
                                                                          Assistant Federal Defender
                                                                          ATTORNEY FOR DEFENDANT

cc: Andrea Glasgow, AUSA
                                  CERTIFICATE OF SERVICE
                      I hereby certify that on March 28, 2025, I electronically
                      filed this document with the Clerk of Court using the
                      ECF system which will serve it on the appropriate parties.

                                      /s/
